    Case 3:13-cv-03739-LHG  Document
                        UNITED STATES50DISTRICT
                                        Filed 04/27/17
                                                  COURTPage 1 of 1 PageID: 756
                           DISTRICT OF NEW JERSEY
                                TRENTON OFFICE


                                                   DATE OF PROCEEDING: 04-27-2017
                                                   CIVIL DOCKET NO. 13-3739 LHG

MAGISTRATE JUDGE LOIS H. GOODMAN

DEPUTY CLERK : Ivannya Jimenez



TITLE OF CASE:
Marilyn Huertero, et al.
vs.
United States of America, et al.

APPEARANCES:
James D. Martin, Esq for Plaintiffs
Marilyn Huertero (mother)
David V. Bober, AUSA for Defendant
Interpreter

NATURE OF PROCEEDINGS:
Friendly Hearing Held on and off the record.
Interpreter sworn
Action reported settled
Sworn as guardian for plaintiff Marilyn Huertero.
Terms of settlement placed on the record.
Court accepts settlement.
Parties to submit a revised formal Order within 30 days.


Commenced 1:25 p.m.                 Adjourned 2:25 p.m.

                                                   s/Ivannya Jimenez,
                                                   Courtroom Deputy
